Case 2:22-cv-04355-JFW-JEM Document 376-2 Filed 07/27/23 Page 1 of 1 Page ID
                                #:26326 6/21/22,9:24 PM
 FastFoodRernbrandt.anion (SolMiningpunkV2)

 Good one

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                     # (hWonderofWorld)

 DMCA IArbayc

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 FastFoodRernbrandt.onion (SolMiningpunkV2)

 Idon't own either of them. Ijust pray they pay them taxes

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 FastFoodRembrandt.onion (SoIMiningpunkV2)

 Cause it aDMCA they gotta worry about

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 emilyluvscrypto.eth (EmilyLuvsCrypto)

 https://twitter.commWonderofWorld/status/1539417086098694146
 Link title: hwonder Iaxel foley I#on Twitter
 Link description: "@ryder_ripps
 perhaps it makes sense to DMCA google &amp; IPFS for images that #rrbayc is using it
  would make sense to take those down, yes?

 wait,.. @PaulyOx told me that they were the same frozen URIs as opensea

 wait.. @dumbnamenumbers told me ft's also exact same uri as ipis"
 Iam rolling you used the same un??          a
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  ft's alack of knowledge

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  FastFoodRenibrandt.onion (SolMiningpunkV2)

  Neither of them Feds worthy so pay them hoes lamo

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  identical url

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  Report rrbayc

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  Hold on fir



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  EastFoodRembrandt.onion (SolMiningpunkV2)                                                 EXHIBIT

  Or you trollin                                                                           WITNESS:      kF
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